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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

         Defendants.
                                        /

                       ORDER DENYING DEFENDANTS’
          MOTIONS FOR ACCESS TO SPECIAL COUNSEL’S CIPA § 4 FILINGS

         THIS CAUSE comes before the Court upon Defendants’ Motions for Access to CIPA § 4

  Filings (the “Motions” or “Motions for Access”), filed on December 6, 2023 [ECF Nos. 237–238].

  The Special Counsel filed a consolidated Response in Opposition [ECF No. 241], to which

  Defendants filed Replies [ECF Nos. 246–247]. The Court conducted several sealed hearings

  during which many of the arguments raised in Defendants’ Motions for Access were discussed in

  conjunction with defense theories and/or positions taken by the Special Counsel in its

  Section 4 Motions [ECF Nos. 307–310, 336]. Upon careful review of the Motions; the Special

  Counsel’s Response [ECF No. 241]; Defendants’ Replies [ECF Nos. 246–247]; the arguments

  raised during sealed hearings [ECF Nos. 307–310, 336]; and the full record, Defendants’ Motions

  are DENIED. Although the import of the Special Counsel’s position effectively changes the

  unambiguous discretionary language of CIPA § 4 into a prohibition on adversarial litigation in this

  context—and although Defendants raise compelling arguments in favor of exercising judicial

  discretion to permit attorneys’-eyes-only access to the CIPA § 4 filings under the circumstances
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  of this case—the Court ultimately denies Defendants’ Motions after concluding, based on a

  thorough review of the Special Counsel’s instant CIPA § 4 submissions [see ECF No. 236], that it

  can fairly resolve the CIPA § 4 requests in an ex parte posture, and in a manner that does not

  impair Defendants’ rights.

                                           BACKGROUND

         The Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. III, “establishes

  procedures for handling classified information in criminal cases.” United States v. Aref, 533 F.3d

  72, 78 (2d Cir. 2008). CIPA § 4—which governs pretrial discovery of classified information—

  was “intended to ‘clarify’ a court’s existing ‘powers under Federal Rule of Criminal Procedure

  16(d)(1),’” United States v. Mejia, 448 F.3d 436, 455 (D.C. Cir. 2006) (quoting Sen. Rep. No. 96–

  823, at 6 (1980)), and designed to “protect and restrict the discovery of classified information in a

  way that does not impair the defendant’s right to a fair trial,” Aref, 533 F.3d at 78 (alterations and

  internal quotation marks omitted). Section 4 provides, in full:

                 The court, upon a sufficient showing, may authorize the United
                 States to delete specified items of classified information from
                 documents to be made available to the defendant through discovery
                 under the Federal Rules of Criminal Procedure, to substitute a
                 summary of the information for such classified documents, or to
                 substitute a statement admitting relevant facts that the classified
                 information would tend to prove. The court may permit the United
                 States to make a request for such authorization in the form of a
                 written statement to be inspected by the court alone. If the court
                 enters an order granting relief following such an ex parte showing,
                 the entire text of the statement of the United States shall be sealed
                 and preserved in the records of the court to be made available to the
                 appellate court in the event of an appeal.

  18 U.S.C. App. III § 4.

         Pursuant to CIPA § 4 and Fed. R. Crim. P. 16(d)(1), and consistent with this Court’s Order

  [ECF No. 226],    the     Special   Counsel   filed   three   separate   ex   parte    Motions   (the



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  “Section 4 Motions”)—one for each Defendant [ECF No. 236]. The Section 4 Motions request

  authorization to (1) redact, substitute, or delete from cleared counsel for all Defendants four

  discrete “categories” of classified information; and (2) withhold from Defendants Nauta and De

  Oliveira personally nearly all classified discovery produced to date.1 Additionally, the Special

  Counsel seeks an order prohibiting the disclosure of the Section 4 submissions (i.e., the

  Section 4 Motions themselves, along with the accompanying declarations and exhibits) to

  Defendants or their counsel.

         In the instant Motions for Access, Defendants seek attorneys’-eyes-only access to the

  Special Counsel’s Section 4 submissions [ECF Nos. 237–238].2 The Motions do not seek access

  for Defendants personally—only for counsel with the requisite security clearances.3 Nor do the

  Motions purport to seek access to the underlying classified materials that are the subject of the

  filings themselves, although as the Special Counsel explains, the filings themselves (and associated

  declarations) are specific to the underlying discovery material at issue [ECF No. 241 p. 9]. In

  support of their requests, Defendants argue that CIPA § 4’s use of “may” in reference to ex parte

  submissions is permissive, and that the “unique facts and circumstances” of this case warrant the

  exercise of judicial discretion to proceed in an adversarial posture [ECF No. 238 p. 3]. As



  1
     The Special Counsel bears the burden to show, in the CIPA § 4 context, that its assertion of
  privilege is “at least a colorable one,” United States v. Yunis, 867 F.2d 617, 623 (D.C. Cir. 1989),
  and if so, that the classified information it seeks to withhold from Defendants is not “relevant and
  helpful to the defense,” id. at 622 (quoting Roviaro v. United States, 353 U.S. 53, 60–61 (1957)).
  2
     Defendant Trump also seeks an order requiring the Special Counsel “to file redacted versions of
  its CIPA § 4 submissions on the public docket” [ECF No. 237 p. 2]. The Court addresses that
  request in a forthcoming Order on the Special Counsel’s Section 4 Motion as to Defendant Trump.
  3
    As represented to the Court [ECF No. 336], Defendant Trump would be willing to limit the
  number of participating cleared attorneys to no more than two, both of whom possess security
  clearances to review all of the classified discovery in this case, including the most highly sensitive
  materials that are subject to additional handling requirements.
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  Defendants further explain, access to the Special Counsel’s submissions would allow cleared

  counsel to “challenge the Office’s assertions in adversarial proceedings that will facilitate more

  reliable decision-making” in the Court’s application of applicable standards under CIPA § 4

  [ECF No. 237 p. 2; see ECF No. 238 p. 8].

         The Special Counsel opposes the Motions, arguing that “the statute and governing caselaw

  preclude attorneys’ eyes-only access to the Government’s CIPA Section 4 filings”

  [ECF No. 241 p. 4]. The Special Counsel emphasizes that no district court has granted the relief

  sought by Defendants, and that circuit courts have uniformly rejected defense challenges to ex

  parte CIPA § 4 proceedings “where—as here—defense access would defeat the motion’s purpose”

  [ECF No. 241 p. 1]. Defendants’ Motions are ripe for adjudication [ECF Nos. 246–247].

                                           DISCUSSION

         At issue is the proper interpretation, and application, of the penultimate sentence of

  CIPA § 4, which provides as follows: “The court may permit the United States to make a request

  for such authorization in the form of a written statement to be inspected by the court alone.” 18

  U.S.C. App. III § 4 (emphasis added). The Supreme Court has “repeatedly observed that the word

  ‘may’ clearly connotes discretion.” Biden v. Texas, 597 U.S. 785, 787 (2022) (citation and internal

  quotation marks omitted) (collecting cases). Moreover, the Supreme Court has “stated time and

  again” that courts must presume that Congress “says in a statute what it means and means in a

  statute what it says there.” Connecticut Nat’l Bank v. Germain, 503 U.S. 249, 253–54 (1992).

  Thus, where a “statute’s words are unambiguous, the judicial inquiry is complete.” Desert Palace,

  Inc. v. Costa, 539 U.S. 90, 91 (2003).

         In keeping with these well-settled principles, and finding no ambiguity in the statutory

  language, the Court is inclined to read the word “may” in CIPA § 4 as conferring on district courts



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  the discretion—not the requirement—to proceed ex parte. This reading is consistent with district

  courts’ discretionary authority to regulate discovery under Fed. R. Crim. P. 16(d)(1), the rule that

  CIPA § 4 was enacted to clarify and complement.4 See Mejia, 448 F.3d at 455. Put another way,

  CIPA § 4 “means what it says: ‘may’ means ‘may.’” Biden, 597 U.S. at 807.

         The plain language of the statute, however, stands in arguable tension with the Eleventh

  Circuit’s decision in United States v. Campa, 529 F.3d 980 (11th Cir. 2008), and with the

  now-commonplace practice of rejecting meaningful defense participation in CIPA § 4

  proceedings.5 In Campa, the Eleventh Circuit affirmed a district court’s denial of a cleared defense

  attorney’s request to participate in CIPA § 4 proceedings. Id. at 994–96. In doing so, the court

  stated that CIPA § 4 “expressly calls for an ‘ex parte showing.’” Id. at 995 (quoting 18 U.S.C.

  App. III § 4). The court also reasoned that “the right that section four confers on the government

  would be illusory if defense counsel were allowed to participate . . . because defense counsel would

  be able to see the information that the government asks the district court to keep from defense

  counsel’s view.” Id.




  4
      Rule 16(d)(1), in expressly permissive terms, states that a court “may, for good cause, deny
  restrict, or defer discovery” and “may permit a party to show good cause by a written statement
  that the court will inspect ex parte.” Fed. R. Crim. P. 16(d)(1). As the Eleventh Circuit stated in
  United States v. Campa, 529 F.3d 980 (11th Cir. 2008), “[n]othing in section four circumscribes
  this power.” Id. at 995. “Like Rule 16(d), . . . CIPA leaves the precise conditions under which the
  defense may obtain access to discoverable information to the informed discretion of the district
  court.” In re Terrorist Bombings of U.S. Embassies in E. Afr., 552 F.3d 93, 122 (2d Cir. 2008).
  5
    Campa’s strong endorsement of ex parte proceedings under CIPA § 4 accords with other circuits
  that have considered the question. See, e.g., United States v. Mejia, 448 F.3d 436, 458 (D.C. Cir.
  2006) (finding “no support for the defendants’ claim of the right to participation or access in CIPA
  or the Federal Rules”); United States v. Asgari, 940 F.3d 188, 191–92 (6th Cir. 2019); Aref, 533
  F.3d at 81. The Court is unaware of any district court that has granted the relief Defendants seek
  here, and the cases cited by Defendants as examples are inapposite for the reasons provided by the
  Special Counsel [ECF No. 237 pp. 6–8; ECF No. 241 pp. 6–8].
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         The Special Counsel argues that “[t]his Court should follow Campa and deny Trump’s

  motion,” suggesting that adversarial CIPA § 4 litigation is “preclude[d]” under Campa and under

  the “text and underlying rationale” of the statute [ECF No. 241 pp. 1–2, 4; see infra pp. 6–7]. The

  Court does not read Campa as imposing a categorical prohibition on all adversarial Section 4

  litigation or as otherwise foreclosing consideration of adversarial testing where appropriate. Such

  a reading would be irreconcilable with the unambiguous language of the statute, even if consistent

  with the weight of authority in this area. See supra n.4. Again, CIPA § 4 provides that a court

  “may permit the United States to make a request for such authorization in the form of a written

  statement to be inspected by the court alone.” 18 U.S.C. App. III § 4 (emphasis added). And as

  emphasized above, “‘may’ does not just suggest discretion, it ‘clearly connotes’ it.” Biden, 597

  U.S. at 802 (quoting Opati v. Republic of Sudan, 140 S. Ct. 1601, 1609 (2020)). Reading “may”

  as permissive is further bolstered by Congress’s use of “shall” in the very next sentence of

  CIPA § 4. See 18 U.S.C. App. III § 4 (providing that “the entire text of the statement of the United

  States shall be sealed” (emphasis added)). Courts should not “lightly assume that Congress has

  omitted from its adopted text requirements that it nonetheless intends to apply,” even more so

  “when Congress has shown elsewhere in the same statute that it knows how to make such a

  requirement manifest.” See Jama v. Immigr. and Customs Enf’t, 543 U.S. 335, 341 (2005).6

         Despite the plain language of the statute, the Special Counsel effectively reads CIPA § 4’s

  permissive “may” as a mandatory “shall.” Indeed, after acknowledging that the statute’s use of




  6
    Congress used the term “shall” pervasively throughout the statute where mandatory action was
  intended. See 18 U.S.C. App. III §§ 2–4, 6–9. For example, in CIPA § 3, Congress imposed on
  district courts a mandatory duty to enter a protective order following such a request from the
  government: “Upon motion of the United States, the court shall issue an order to protect against
  the disclosure of any classified information disclosed by the United States to any defendant . . . .”
  18 U.S.C. App. III § 3 (emphasis added).
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  “may”    necessarily   contemplates     adversarial   litigation   in   at   least   some   situations

  [see ECF No. 310], the Special Counsel could not identify a single example or circumstance, real

  or hypothetical, in which such adversarial testing would be appropriate [ECF No. 310].

  Meanwhile, the Special Counsel emphatically assures the Court that the particular facts of this case

  do not “remotely justify[] a deviation from the normal process” [ECF No. 241 p. 2]. The Court

  cannot speak with such confidence in this first-ever criminal prosecution of a former United States

  President—once the country’s chief classification authority over many of the documents the

  Special Counsel now seeks to withhold from him (and his cleared counsel)—in a case without

  charges of transmission or delivery of national defense information. If the Special Counsel does

  not believe adversarial CIPA § 4 litigation is “remotely justif[ied]” under the facts and

  circumstances of this case, at least as to Defendant Trump [ECF No. 241 p. 2]—and cannot conjure

  a single example of such a case—the Court is left to believe that the Special Counsel interprets

  “may” in CIPA § 4 as a mandatory “shall.”

          The Special Counsel also argues that the “underlying rationale” of CIPA § 4 necessitates

  ex parte litigation of its Section 4 Motions, and that defense requests for access must be rejected

  “where—as here—defense access would defeat the motion’s purpose” [ECF No. 241 p. 1]. This

  argument fails to sufficiently account for the other half of CIPA’s “fundamental purpose,” which

  is to “protect[] and restrict[] the discovery of classified information in a way that does not impair

  the defendant’s right to a fair trial.” United States v. O’Hara, 301 F.3d 563, 568 (7th Cir. 2002)

  (emphasis added); [See, e.g., ECF No. 32 p. 5 (acknowledging this dual purpose)]. Viewed in this

  context, Congress’s permissive use of “may” is not inconsistent with CIPA’s purpose. The district

  court should have the discretion afforded by the text of CIPA § 4 to conduct limited adversarial




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  proceedings if doing so is necessary under the facts and circumstances to ensure that a criminal

  defendant receives due process and a fair trial.7

         Finally, the Special Counsel’s suggestion that Defendants may participate in the

  proceedings by filing “their own ex parte submission outlining their theory of the defense to aid

  the Court in the review of the classified materials” [ECF No. 241 p. 17 (citing authorities)]—while

  commonplace in the CIPA § 4 context—serves as a hollow stand-in for the traditional adversarial

  posture. Unlike the Special Counsel, Defendants are “forced to argue for the relevance of the

  material without actually knowing what the classified record contains.”           United States v.

  Sedaghaty, 728 F.3d 885, 906 (9th Cir. 2013). Even taking its role as “standby counsel” seriously

  Amawi, 695 F.3d at 471—as the Court has done here—defense counsel still is undoubtedly “in the

  best position to know whether information would be helpful to their defense,” Mejia, 448 F.3d at

  548; see Amawi, 695 F.3d at 471 (requiring the court to stand “in the shoes of defense counsel . . .

  and act with a view to their interests”). These half-measures provide little consolation to criminal

  defendants, and in the Court’s estimation, threaten to “reduce[] the judicial function to a mere

  ceremonial rite.” Al-Turki v. F.B.I. Document Custodian, No. 06-CV-1076, 2007 WL 3195129,

  at *1 (D. Colo. Oct. 26, 2007) (commenting on the “Orwellian” nature and “constitutional frailty”

  of ex parte review under CIPA § 4).




  7
     Along similar lines, legislative history provides no basis for rewriting the otherwise plain
  meaning of the statute. The language of CIPA § 4 is unambiguous, and when confronted with a
  “straightforward statutory command, there is no reason to resort to legislative history.” United
  States v. Gonzales, 520 U.S. 1, 6 (1997). In any event, even if consideration of legislative history
  were appropriate here, the oft-cited footnote from a congressional report is far from dispositive.
  See H.R. Rep. No. 96–831, pt. 1, at 27 n.22. CIPA’s legislative history is replete with refences to
  the central importance of safeguarding a criminal defendant’s rights despite the involvement of
  classified materials in the case [See, e.g., ECF No. 202 p. 7 n.8 (surveying CIPA’s legislative
  history)].
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          Nevertheless, in light of the unrebutted weight of authority in this Circuit and others—and

  following a thorough review of the subject materials [ECF No. 236], extensive colloquies with

  defense counsel to understand their theories of the case [ECF Nos. 307, 309, 336], and careful

  consideration of the good-faith arguments raised by Defendants [ECF Nos. 237–238]—the Court

  determines at this juncture that it can resolve the Special Counsel’s Section 4 Motions in an ex

  parte posture.   CIPA § 4 was designed to “protect and restrict the discovery of classified

  information in a way that does not impair the defendant’s right to a fair trial.” Aref, 533 F.3d at

  78 (cleaned up). As best the Court can discern following its rigorous analysis, Defendants’ rights

  will not be impaired by today’s ruling.

          Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

          1. The Motions [ECF Nos. 237, 238] are DENIED.

          2. Should an additional round of CIPA § 4 litigation become necessary in this case, and

             assuming the Special Counsel moves to proceed ex parte, Defendants may file renewed

             requests for access.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 28th day of February

  2024.



                                                          _________________________________
                                                          AILEEN M. CANNON
                                                          UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




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